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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

   v.
                                                         Case No. 21-mj-188 (ZMF)
  RYAN SAMSEL,

                          Defendant.


                                                 ORDER

        On June 10, 2021, the undersigned entered an Order, ECF No. 28, continuing the pretrial

detention of the Defendant, but directing that the Defendant, at his request, be released temporarily

from the custody of the Attorney General to the custody of the Commonwealth of Pennsylvania

for the limited purpose of being incarcerated on the detainer warrant lodged against him in that

jurisdiction. 18 U.S.C. § 3142(i). On June 14, 2021, the Court was informed that the Defendant

had retained new counsel and was now opposed to this transfer. The Court will schedule a hearing

to address issues regarding who is representing the Defendant and what the parties’ requests are

as to detention pending trial. It is therefore

        ORDERED, that this Court’s prior Order, ECF No. 28, is VACATED. The Defendant

shall NOT be released into the custody of the Commonwealth of Pennsylvania unless and until a

further Order so directing is issued by the Court.

                                                                       Zia M. Faruqui
                                                                       2021.06.14
        SO ORDERED.
                                                                       19:07:28 -04'00'
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                                                      Zia M. Faruqui
                                                      United States Magistrate Judge
